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                             UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-19-01199-PHX-SMB
10                        Plaintiff,
                                                              ORDER
11            vs.
12
     Jesse Don Moquino,
13
                          Defendant.
14
           Upon Motion by the United States and good cause appearing,
15
           IT IS HEREBY ORDERED granting the United States’ Motion to Continue
16
     Sentencing (Doc. 55) and continuing the Sentencing from March 7, 2022, to March 25,
17
     2022, at 10:00 a.m. in Courtroom 601.
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           IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161 is
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     found to commence on                    for a total of      days.
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           Dated this 3rd day of March, 2022.
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